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                                                                                                CLEAR FORM




                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                            CASE NUMBER:
In the Disciplinary Matter of
AFTAB ALAM MALIK                                                                  MC-11-148 ABC



California State Bar No.:
                                                                      ORDER TO SHOW CAUSE
                            171926                                    (ATTORNEY DISCIPLINE)


       This Court has received notice that

       ✔
       G         the Supreme Court of California has disbarred from the practice of law the above-referenced
                 attorney effective March 11, 2011                              .

       G         the Supreme Court of California has suspended from the practice of law the above-referenced
                 attorney effective                                             .

       G         the State Bar Court has suspended from the practice of law the above-referenced attorney for not
                 passing the professional responsibility exam effective                                        .

       G         the State Bar Court has suspended from the practice of law the above referenced attorney for a
                 criminal conviction, and until further order of the court, the suspension is effective      .
                                                                                 .

       G         the above-referenced attorney has resigned with charges pending as a member of the State Bar of
                 California and that the resignation has been accepted by the Supreme Court of California effective
                                                                              .

       G         the above-referenced attorney has enrolled as an involuntary inactive member of the State Bar of
                 California with a case(s) pending in this Court. As a result of the enrollment, the above-referenced
                 attorney is ineligible to practice law effective                                                  .

       G         the Supreme Court of California has suspended from practice of law the above-referenced attorney
                 for noncompliance with G Rule 9.22 (Child & Family Support) G Rule 9.31 Continuing Legal
                 Education of the California Rules of Court effective                                          .

       G         Other:




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        Therefore, the above-referenced attorney is hereby ordered to show cause, in writing within 30 days
                                                       ✔ disbarred or G suspended from the practice of law
of the date of this order, why he or she should not be G
before this Court, pursuant to Rule 83-3.2 or G               of the Local Rules for the Central District of
California.

         IT IS FURTHER ORDERED, that if the above-referenced attorney does not contest the imposition
     ✔
of G disbarment or G suspension from this Court or does not respond to the order to show cause within
the time specified, the Court shall issue an order of G ✔ disbarment or G suspension effective 30 days from
the date of this order to show cause. A response to this order to show cause must make the showing
required in Local Rule 83-3.2 or G                of the Local Rules for the Central District of California. In
addition, the above-referenced attorney must produce at the time the response to the order to show cause
is filed a certified copy of the entire record from the other jurisdiction or bear the burden of persuading the
Court that less than the entire record will suffice.

        The response to the order to show cause and other documentation shall be filed, electronically or
manually, at the U.S. Courthouse, 312 N. Spring Street, Room G-8, Los Angeles, California 90012, Attn:
Civil Intake. The response to the order to show cause and other documentation filed must include the case
number in the caption. Unless stated otherwise by order of the Court, the above-referenced attorney who
has been G ✔ disbarred or G suspended from the Bar of this Court because of a G         ✔ disbarment or G
suspension or G                                                        by G✔the Supreme Court of California
or G by                                                        will be reinstated upon proof of reinstatement
as an active member in good standing of G   ✔ the State Bar of California or G


                                                                                             ✔disbarred
        An attorney registered to use the Court’s Electronic Case Filing System (ECF) who is G
or G suspended by this Court will not have access to file documents electronically until the attorney is
reinstated by the State Bar of California and reinstated to the Bar of this Court.

       This Order to Show Cause is being served G  ✔ pursuant to Federal Rule of Civil Procedure 5 to the
above-referenced attorney’s current address as on file with the State Bar of California or G




 DATE: April 14, 2011




                                                                      Audrey B. Collins
                                                               Chief United States District Judge



                                                       G
                                                       Acting Chief United States District Judge



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